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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                FT. LAUDERDALE DIVISION


RALPH LEVI SANDERS                                        CASE NO.22-14766-SMG

                         Debtor          /                CHAPTER 13


                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for the

Southern District of Florida and I am in compliance with the additional qualifications to practice in this

Court set forth in Local Rule 209-1 (A) and that a true correct copy of the THIRD AMENDED PLAN

[D.E 52] thereon was served via email to all creditors and those set forth in the NEF on this 7th day of

November of 2022.




        DATED: November 7, 2022



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                                                          By:                    /s/
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